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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Vs ; Crim No. 1:21-cr-00336-JDB
SAMUEL CHRISTOPHER MONTOYA,
Defendant.
STA INT ENS

Pursuant to Federal Rule of Criminal Procedure 11, the United States of Amcrica, by and
through its attorney, the United States Attorney for the District of Columbia, and the defendant,
Samuel Christopher Montoya, with the concurrence of his attorney, agree and stipulate to the
below factual basis for the defendant's guilty plea—that is, if this case were to proceed to trial,
the partics stipulate that the United States could prove the below facts beyond a reasonable
doubt:

The Attack at the U.S. Capitol on January 6, 2021

1. The U.S, Capitol, which is located at First Street, SE, in Washington, D.C., is
secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

2. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members
of the public.
3. On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, clected members of the United States House of Representatives and the United States
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Senate were meeting in separate chambers of the United States Capitol to certify the vote count
of the Electoral College of the 2020 Presidential Election, which had taken place on November
3, 2020, The joint session began at approximately 1:00 p.m, Shortly thereafter, by
approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint
session, and then in the Senate chamber.

4. As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S,
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside,

5. At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted
to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized
security officials,

6. At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S,
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;
however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the

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crowd encouraged and assisted those acts, The riot resulted in substantial damage to the U.S.
Capitol, requiring the expenditure of more than $1.4 million dollars for repairs,

bn Shortly thereafter, at approximately 2:20 p.m., members of the United States
House of Representatives and United States Senate, including the President of the Senate, Vice
President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all
proceedings of the United States Congress, including the joint session, were effectively
suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances
caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who
had entered the U.S. Capitol without any security screening or weapons check, Congressional
proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,
and the building had been confirmed secured. The proceedings resumed at approximately 8:00
p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed,

Mo. 's Participation in ary Capi

8. The defendant, Samuel Christopher Montoya, was among the scores of
individuals who entered the U.S. Capitol Building without permission while Congress convened
to certify the Electoral College vote for the 2020 Presidential Election on January 6, 2021.

9. The defendant entered through the Senate Wing Door at approximately 2:18 p.m.
The defendant walked through areas including the Crypt, the Rotunda, and Statuary Hall, before
Joining a large crowd gathered around a barricaded door to the Speaker's Lobby, a hallway that
connects to the House of Representatives Chamber in the U.S. Capitol Building. The defendant
remained in the Building until law enforcement officers ushered a crowd including the defendant

out of the East Front House Door at approximately 2:56 p.m,

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10. The defendant filmed as he went from the Capitol grounds into the Capitol
Building along with crowds of protesters. The defendant posted an approximately 44-minute
video of that footage, which was entitled “Patriots Storm Congress Raw Footage Includes
Execution of Ashli Babbitt” and embedded with the tag “THERESISTANCE. VIDEO,” online on
January 6, 2021,

II, At one point on the video, the defendant turned the camera on himself,
exclaiming, “It feels good to be in the Capitol baby!” and showing himself wearing a tan jacket,
red “Make America Great Again” baseball cap, and black backpack, consistent with his
appearance on U.S, Capitol Police surveillance videos, The defendant's video also recorded
himself making statements including the following:

¢ 9:55 ~“We're gonna crawl, we're gonna climb. We're gonna do whatever it takes, we're
gonna do whatever it takes to MAGA. Here we go, yall. Here we g0, y'all, Look at this,
look at this, I don't even know what's going on right now. I don’t wanna get shot, I'll be
honest, but I don’t wanna lose my country. And that’s more important to me than—than
getting shot.”

¢ 11:04-—“We have had enough! We’re not gonna take your fucking vaccines! We're not
gonna take all your bullshit! The people are rising up! Folks, | am now on the steps of the
Capitol. Here we go! Here we go! Having a good time!”

© 12:55 ~“We are in the Capitol, baby! Yeah!”
© 15:40 ~ “We're all being a little bit too rowdy for sure.”

¢ 16:07 ~ “Here we are in the US Capitol in Washington DC in the Capitol building, it has
officially been stormed by Trump supporters, Again, the US Capitol building in
Washington DC has officially been stormed by Trump supporters. And here we are,
taking our—the people’s house back!”

¢ 17:38—“I'm sure these officers are scared, but we're here, we're here to just show that
we've had enough. We've had cnough.”

¢ 34:05—“We don't hurt innocent people; we don’t tear down statues! We don’t tear down
statues! We take our house back! We take the people’s house back!”

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12. The defendant knew at the time he entered the U.S. Capitol Building that that he
did not have permission to enter the building and the defendant paraded, demonstrated, or

picketed,

Respectfully submitted,

MATTHEW M. GRAVES
United States Attomey
D.C, Bar No. 481052

By: /s/ Alexis J. Loeb
Alexis J. Locb
Assistant United States Attorney (Detailed)

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FEND. *S ACK i

1, Samuel Christopher Montoya, have read this Statement of the Offense and have
discussed it with my attorney. 1 fully understand this Statement of the Offense. | agree and
acknowledge by my signature that this Statement of the Offense is true and accurate. I do this
voluntarily and of my own free will, No threats have been made to me nor am | under the influence
of anything that could impede my ability to understand this Statement of the Offense fully.

pate: /O/Ao/psrr

 

Defendant

ATT *S AC DGM

I have read this Statement of the Offense and have reviewed it with my clicnt fully. I
concur in my client's desire to adopt this Stat t of the Offense as true and accurate.

Date: “Oc 20-Dyy f£ Z : or
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A ¥ for Defendant

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